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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

C.A. NO. 1:20-cv-10484-GAO

 

EDWARD SULLIVAN, HEATHER SULLIVAN,
DOE CHILD 1, DOE CHILD 2, DOE CHILD 3 and
DOE CHILD 4,

Plaintiffs,

VS.

THE TOWN OF WALPOLE, MA, WALPOLE POLICE
DEPARTMENT, CHIEF JOHN F. CARMICHAEL, JR.,
OFFICER ANDREW KIEWLICZ, DET. MICHAEL BENNER,
DET. SGT. RICHARD KELLEHER, OFFICER THOMAS
HART, DET. KYLE GRIFFIN, OFFICER MATTHEW CROWN,
AND OTHER NAMES UNKNOWN TO THE PLAINTIFFS
AT THIS TIME, WALPOLE SCHOOL DEPARTMENT,
VICE PRINCIPAL LEE TOBEY, AND OTHERS AS YET
UNKNOWN TO THE PLAINTIFFS,

Defendants.

 

REMOTE DEPOSITION OF Sax SUE
SULLIVAN, taken on behalf of the Defendants, pursuant
to the applicable provisions of the Massachusetts
Rules of Civil Procedure, appearing remotely before
Kristin L. Tucker, Notary Public and Certified
Shorthand Reporter within and for the Commonwealth of
Massachusetts, appearing remotely, on February 24,
2022, commencing at 10:03 a.m., as follows:

TUCKER COURT REPORTING, INC.
130 Hemlock Drive
Norwell, Massachusetts 02061

(888) 852-DEPO

 

 
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1 A. Mm-hmm. | mean, yes. Sorry. 1 A. Definitely, but we've definitely gotten
2 Q. And when did you -- Did you move out of 2 closer since |, like, left for college and stuff.
3 your parents’ house to attend college? 3 Q. Yeah. All right. So I'm going to kind of
4 A. Kind of. | mean, | have a dorm, but, like, 4 bring you back to the time of this lawsuit. And the
5 I still have a room in their house. 5 day that your father was arrested | have as October
6 Q. Sure. That's fair. And before you left 6 24th, 2018. Does that sound about right?
7 for college, where was your room at home? 7 A. | think so.
8 A. Right before | left, it was in my basement. 8 Q. Okay. So I'm just going to ask some
9 Q. Okay. Did you share the basement with 9 questions about the time period leading up to that
10 anyone? 10 date. So we're not going to talk about the day just
il A. No. 11 yet, but | want to know a little bit about your
12 Q. And when did you first start living down in 12 background before that. Okay?
13 the basement? 13 A. Okay.
14 A. I think, like, my -- It must have been, 14 Q. So at that particular point in time, you
15 like, my summer of junior year maybe. Yeah. Or 15 were sharing a room with @jjji?
16 junior year itself. It was, like, around COVID-ish. 16 A. Mm-hmm.
17 Q. Okay. And is that something that you asked 17 Q. Is that a yes?
18 your parents to do, to have a separate room? 18 A. Yeah. Sorry.
19 A. Well, we had been talking about it, like, 19 Q. That's fine. And what was your -- What
20 for a while. They just didn't really want me, like -- 20 grade were you in around that time?
21 Because my basement has a door to, like, right ai A. Sophomore year of high school, | think, or
22 outside, so they didn't want me to able to, like, 22 right before.
23 sneak out or have people in that they didn't know 23 Q. Okay. If it was October of 2018, were you
24 about so... And then the door is also kind of, like, 24 just sort of starting the school year?
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1 weird, so they were trying to figure that out. 1 A. Yeah.
2 Q. Okay. Did they ever have to put an alarm 2 Q. And how were you doing academically leading
3 on your door to make sure you weren't -- 3 up to -- like, in the beginning of your sophomore
4 A. No. They didn't go that far. 4 year?
5 Q. Allright. And before you were living in 5 A. | was doing okay.
6 the basement, where was your room? 6 Q. What kind of grades were you getting?
7 A. It was upstairs. | shared a room with my 7 A. I think, like, mostly Bs, maybe, like, one
8 brother, GB. 8 C or something.
9 Q. And how long had you been sharing a room 9 Q. Okay. And how did you do your freshman
10 with @liR? 10 year?
11 A. | think it was, like, less than a year Ld A. Notas well, but I think | got, like, two
12 maybe. 12 Cs or something.
13 Q. Okay. Did you share a room with one of 13 Q. Okay. And how was the transition for you
14 your other siblings before sharing a room with ae 14 from eighth grade into high school, into ninth grade?
15 A. Yeah. | shared a room with my sister Gili? 15 A. It was, like, a big difference.
16 before. 16 Q. In what ways was it different?
17 Q. How did that work out? 17 A. Just, like, there was more people and,
18 A. Not good. We're very different. 18 like, | don't know, like, sports and stuff. There was
19 Q. Did you like sharing a room with Gai”? 19 just, like, a lot to balance.
20 A. Yeah. I'm really close with my little 20 Q. Okay. So kind of overwhelming with school
21 brother, so it was good. 21 and more responsibility, would you say?
22 Q. Okay. I know you said that you're very 22 A. Definitely more responsibility. Yeah.
23 different than Do you still share some of those 23 Q. How about socially, did you have a lot of
24 differences today? 24 friends that went to your high school that came from

 

 

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1 A. She was, like, asking me about what 1 Q. And did you have any classes with at
2 happened to my face and stuff. And |, like, told her 2 the time?
3 that, like, a water bottle hit me in the face when | 3 A. | don't think so.
4 was sleeping and stuff. 4 Q. And was she aware of how you were doing in
5 And then she, like, kind of said | was, 5 school at the time?
6 like, lying and stuff and that she didn't believe me. 6 A. | don't think so.
7 And then she, like, asked who did it to me and kept 7 Q. And did your father ever coach the same
8 asking, like, if it was, like, my dad or, like, if it 8 soccer team as you and Qe?
9 was, like -- | don't know. Just the conversation was, 9 A. [don't think he coached the -- My dad
10 like, weird. | don't know. 10 coached when | was in, like, middle school, but she
11 Q. Was there anyone else around when fj was La. wasn't on the same soccer team as | was in middle
12 asking you this? 12 school.
13 A. Kind of. Like, she had kind of, like -- We 13 Q. Had § ever had any interactions with
14 were, like, in between the two groups after, because 14 your dad?
15 she had, like, called me over kind of. So we were, 15 A. | don't think so.
16 like, a little separated from the rest of the groups 16 Q. When ijmapproached you about your face,
17 and stuff. 17 had you gone to the bathroom to see what your face
18 Q. Gotit. Were you sitting down when Kyle 18 looked like, to see what she,was talking about?
19 came over to you? 19 A. Well, | went, like, after, yeah, but |
20 A. I think so. | don't really remember if | 20 didn't want to do it, like, in front of her.
21 was, like, sitting or, like, standing. 21 Q. Sure. And when you went to go look at your
22 Q. Okay. But she called you over to, like, 22 face, what did your face look like at that time?
23 another part of -- not far, but another part of the 23 A. The bruise had kind of darkened a little
24 lunchroom? 24 and it was a little, like -- it was kind of, like,
Page 62 Page 64
1 A. Yeah. Kind of like the same table, but 1 bluish, like, black now and it looked worse.
2 away from our two groups. 2 Q. And approximately how big was the bruise,
3 Q. Gotit. Okay. And could you tell if 3 do you know?
4 anyone else was paying attention to your conversation? 4 A. Like, maybe, like, this big (indicating).
5 Like, did you see anyone looking at you guys while you 5 It wasn't, like, a huge bruise. It was, like, that
6 were talking? 6 big, | think.
7 A. [don't think so. | didn't really, like, 7 Q. So maybe one to two inches?
8 look around. 8 A. Yeah. It wasn't, like, huge. It was just
9 Q. Sure. And how long did you talk tp? 9 a little one.
10 A. Like, less than, like, three minutes 10 Q. Gotit. Okay.
Ad probably. Like, it was, like, a quick, like, thing, | 11 MR. GRIFFIN: Katie?
12 think. 12 MS. DAVIS: Yes.
13 Qs» Okay. And when @ijjasked you about 13 MR. GRIFFIN: Can we take five?
14 whether your dad hit you, what was your response to 14 MS. DAVIS: Oh, yeah. Absolutely.
15 that? 15 (Brief break.)
16 A. Isaid no. Like, he wouldn't do that to 16 BY MS. DAVIS:
17 me. ee 17 Q. @jeem you were telling me after you spoke
18 Q. Did she keep pressing you about it? = #: 18 to jj that you at some point went to go look to see
19 A. Kind of, like, a little, but then | was 19 what your face looked like?
20 kind of, like -- | kind of, like, pulled away and | 20 A. Mm-hmm.
21 was, like, confused. 21 Q. And you said that you had noticed a bluish
22 Q. Okay. ky 22 or black mark or bruise that looked worse and it was
23 A. She kind of, like, stopped talking to me 23 small, maybe no more than one to two inches; is that
24 after | said no for, like, the second time. 24 fair to say?

 

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1 A. Yeah. 1 like, when it first hit my face, itwas kind of |.
2 Q._ And did you do that immediately after you 2 painful, but then | was, like, half asleep, so it “
3 spoke to fie or did you wait until after lunch to go 3 wasn't, like, a thing.
4 look? 4 Q. Sure. So at some point in time, you were
5 A. | waited until after lunch. 5 in your art class. Did you end up missing most of
6 Q. Did you go into a bathroom to look in a 6 your art class because you had to go to Mrs. Tobey's
7 mirror? 7 office?
8 A. Yeah. | think so. 8 A. Yes. oe
9 Q. Okay. | didn't know if you kept, like, a 9 Q. Did you have to take your things with you
10 compact mirror or something like that in your bag? 10 when you went to Mrs. Tobey's office?
11 A. No. 2 Lt A. | don't remember if she had me take my
12 Q. Allright. And after you saw the mark, 12 things with me, but | think | did.
13 what did you do next? 13 Q. Okay. .Did you return back to your art
14 A. | was kind of, like, oh, and not, like -- | 14 class after you were done in Mrs. Tobey's office?
15 don't know. It wasn't painful still, so | was kind 15 A. Yes.
16 of, like -- It wasn't that bad really, and then |, 16 Q. And by the time you got back to your art
17 like, went back to class and, like, tried to, like, 17 class, how much longer did you have to stay in your
18 cover it, because it was weird looking. 18 art class?
19 Q. Okay. What did you try to cover it with, 19 A. | think maybe, like, ten minutes. It
20 with your hair or? 20 wasn't, like, a lot of time left.
21 A. Yeah. Just, like, with my hair. | didn't a1 Q. Gotit. Did anyone ask you where you went?
22 have any, like, makeup on me. 22 A. Not really. | mean, | only had, like, one
23 Q. And do you recall what class you had after 23 friend in the class, and she just probably assumed I,
24 lunch? 24 like, went to the office or something.
Page 66 Page 68
1 A. | think it was my art class. 1 Q. Gotit. And when Mrs. -- Did Mrs. Tobey,
2 Q. Okay. At some point in time, do you recall 2 was she the one that told you that another student or
3 texting your father about moving your brother's bed? 3 someone said that you -- This is going to be a lot of
4 A. Yeah. 4 you said/he said/she said.
5 Q. And when did you do that? 5 When you were there -- I'll try to talk as
6 A. | think at some point, like, during my art 6 slowly as | can so | don't confuse you, but please let
7 class. 7 me know if what I say is confusing.
8 Q. Was it after you had spoken to? 8 Did Mrs. Tobey tell you while you were
9 A. Yeah. 2 9 there that someone reported you said your dad hit you?
10 Q. Okay. Do you remember exactly what you 10 A. Yes. She told me that, | think, when | was
11 told your dad? 11 in there with her and Ms. Wilson.
12 A. Not really. | think | just asked if we 12 Q. Okay. And do you remember anything else
1.3 could maybe move, ike, bed so it wasn't, 13 specifically that Mrs. Tobey said?
14 like, up against mine because he, like, moves a lot 14 A. Nothing really other than, like, her saying
15 and knocks stuff off in his sleep and it had kind of 15 that they were, like, mandated reporters and that she
16 hit me. 16 was going to have to call people and stuff. And then
17 Q. Gotit. And do you recall if that night 17 | think | got, like, a little — like, not hostile,
18 before {fie had — @lip had slept on the bottom bunk 18 but a little, like, frustrated, because | kept saying
19 or the top bunk? 19 that, like, my dad didn't hit me, and she kept,
20 A. 1 don't remember exactly. 20 like -- you know...
21 Q. And you said something about the bruise 2A. Q. And when she said that she was a mandated
22 wasn't painful still. Did the bruise ever become 22 reporter, did you understand what that meant?
23 painful? 23 A. Kind of. Like, that she -- if there was,
24 A. Not really. It was just, like, initially, 24 like, a report of abuse, she had, like, a legal

 

 

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1, obligation to, like, call the police or tell someone 1 looking for you?
2 or something. 2 A. No. She just said that he said to come
3 Q. Okay. And is it at that point when you 3 outside.
4 Started to feel -- Were you feeling really defensive 4 Q. Gotit. Okay. Do you remember that older
5 then? 5 girl's name?
6 A. Yeah. | was, like, just frustrated, 6 A. No. | just remember she was, like, a
a because she wasn't, like, listening to me. 7 senior, | think.
8 Q. Did you start crying at any point in time? 8 Q. Gotit. Was it someone you knew?
9 A. | don't know. Maybe. 9 A. | didn't know her.
10 Q. When she told you that she was going to 10 Q. You said Mr. Hart was your football coach;
LA have to tell someone, did you understand what that 11 is that right?
12 meant at that point? 12 A. Mm-hmm.
13 A. Kind of. That she would have to, like, 13 Q. Is that ayes?
14 talk to, like, the police or something, kind of. 14 A. Yeah. Sorry.
15 Q. Okay. Did Mrs. Wilson say anything to you 15 Q. That's okay. And was Mr. Hart the school
16 when you were talking to Mrs. Tobey? 16 resource officer as well?
17 A. I don't really remember exactly. 17 A. Yeah. | think.
18 Q. Okay. When you left Mrs. Tobey's office, 18 Q. Okay. Did he go to school in regular
19 how were you feeling? 19 clothes or did he wear a police uniform ever?
20 A. Upset. 20 A. {think regular clothes. When he was
21 Q. And did you tell your art teacher what just 21 coaching football, he was in, like, regular clothes
22 happened? 22 and stuff.
23 A. No. 23 Q. Gotit. Okay. Did Mr. Hart ever have a
24 Q. Okay. Did you talk to any of your friends 24 dog with him?
Page 70 Page 72
i later in the day about what happened at Mrs. Tobey's 1 A. Yeah.
2 office? 2 Q. What was the dog's name?
3 A. No. | don't think so. 3 A. Rebel.
4 Q. Did you text anybody in your family to let 4 Q. Okay. And did Mr. Hart have Rebel with him
5 them know that that happened? 5 that day?
6 A. Maybe. | don't know. | might have texted 6 A. I'mnot sure. Maybe.
7 my dad or my mom. 7 Q. Up until that point, did you have a good
8 Q. Okay. All right. After you went back to 8 relationship with Mr. Hart?
9 your art class, what's the next thing that you 9 A. Yeah. He was, like -- He was really nice.
10 remember happening that day? 10 All the coaches, like, on the football team were
11 A. | remember, like, the end of the day kind 11 really supportive and helpful because it was new for
12 of happening and then | had to go to football 12 me and stuff.
13 practice. tig Bs 13 Q. Were they really excited to have a girl --
14 Q. What time did football practice start? 14 You said you were the kicker, right?
15 A. Like, 15 minutes after school ended, so, 15 A. Yeah.
16 like, three something-ish. 16 Q. Were they really excited to have a female
17 Q. And what happened when you got to football 17 kicker on their team?
18 practice?,. : ty 18 A. Yeah. They said that, like, there hadn't
19 A. | went into the locker room to change. | 19 been any, like, girls on the football team yet, so it
20 had to go to the girls’ locker room and stuff, and 20 was, like, the first time, so it was, like, new for
21 then a girl came in, like, an older girl, and told me 21 everyone which was cool.
22 that Mr. Hart was looking for me. He was my football 22 Q. | think your dad may have said this. Did
23 coach. And so then | went out with Mr. Hart. 23 you have, like, a newspaper write-up about you?
24 Q. Did the older girl tell you why he was 24 A. Yeah.

 

 

 

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1 Q. Was that exciting? 1 Q. Okay. Did you feel scared at all at that
2 A. He still tells people about that. 2 point in time?
3 Yeah. It was cool. 3 A. A\little bit, because then, like, they
4 Q. Do you remember if that write-up was before 4 brought me into, like, the back room of the office,
5 or after this happened? 5 because | couldn't go into, like, Mrs. Tobey's office
6 A. | think it was before. 6 yet, | guess.
7 Q. Had you played in a game before that, by 7 Q. And when you say "they" brought you into
8 the way? 8 the back room, who are you talking about?
9 A. Yeah. 9 A. Mr. Hart and then, like, there was, like --
10 Q. Okay. How did that go? 10 | think this was when the police came. There was two,
11 A. It was good. We won. 11 like, officers in, like, uniforms, like, "officer"
12 Q. Oh. 12 officers.
13 A. It was, like, the first game. 13 Q. You said two uniformed officers came?
14 Q. Did you have to kick a goal or anything? 14 A. Mm-hmm. But that wasn't until, like,
15 A. | didn't -- There weren't a lot of, like — 15 later. Like, | was in the back room waiting for,
16 We didn't do a lot of, like, field goals. | would 16 like, two hours with Mr. Hart.
17 just, like, do the starting kick and, like, other 17 Q. And what were you doing for those two hours
18 stuff like that. 18 when you were waiting with Mr. Hart?
19 Q. Okay. Got it. 19 A. | was just sitting there and, like, asking
20 A. | didn't really understand it that much, 20 him questions. And, like, | asked him if | could,
21 but they just told me to go kick. 21 like, go on my phone to text my dad, and | wasn't
22 Q. Sure. That's fair. All right. So 22 allowed to. And then | was worried that, like, my
23 Mr. Hart called you out. Did you end up getting 23 parents were going to get, like, nervous because,
24 changed back into your regular clothes or were you in 24 like, he had me there for, like, two hours, and |
Page 74 Page 76
1 your football uniform? 1 wasn't able to, like, text anyone or tell them where |
2 A. | think -- | hadn't put on, like, all my 2 was and stuff. So it was, like, weird for me to,
3 gear yet, so | think | was just in, like, my just, 3 like, be running late or, like, miss my ride or
4 like, sports clothes, like, shorts and a tank top or a 4 something and not text.
5 tee shirt or something. 5 Q. Gotit. Okay. What time did football
6 Q. Okay. Got it. And when Mr. Hart called 6 practice typically end?
7 you out, did you have to take all of your things with 7 A. [want to say, like, five something maybe.
8 you or did you leave your things in your locker? 8 Q. Okay. And how did you normally get home or
9 A. | didn't have a locker in there. We didn't 9 how would you have gotten home that day from football
10 have, like, lockers. We only used lockers for gym 10 practice?
11 class, but | think | took my stuff out with me. 11 A. My dad would have picked me up.
12 Q. Gotit. Where did you meet Mr. Hart? 12 Q. Okay. Did Mr. Hart tell you anything about
13 A. Like, right outside. So the girls’ locker 13 what was going on?
14 room and the boys' locker room, like, when you walk 14 A. Kind of. He was telling me that, like, my
15 out of both of them, they're, like -- it's, like, they 15 brothers were being, like, kept at the school and
16 meet in the middle kind of outside, so | met him 16 stuff, and that they were trying to find my sister.
17 there. 17 Like, he was asking me questions about where my sister
18 Q. And what did Mr. Hart say when you met him 18 would be and stuff, because I think she was, like, at
19 there? 19 a friend's house or something during all of this.
20 A. He said | needed to go up with him to 20 Q. Do you recall if you did any homework while
21 Mrs. Tobey's, like, office. 21 you were waiting with Mr. Hart or, | don't know, doing
22 Q. Did that make you really nervous? 22 anything else while you were waiting there?
23 A. Kind of. | was just, like, | don't know, 23 A. | think | started to do some of my geometry
24 anxious, | guess. 24 homework a little.

 

 

 

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1 Q. While you were waiting with Mr. Hart, you 1 Q. Do you recall what, if anything, they asked
2 said that you were in a small back room. Was it like 2 you or said to you?
3 an office? Was it like a classroom? 3 A. | think they were asking, like, the same
4 A. It was like a lounge. 4 questions as the DCF worker was asking about, like,
5 Q. Alounge. Got it. And was it like a —- 5 has your dad ever hit you, what is the bruise from,
6 Was the door open when you were waiting with Mr. Hart? 6 like, stuff like that.
7 Was it closed? 7 Q. Gotit. Okay. Did at any point in time
8 A. [don't really remember if it was open or 8 you ever tell anyone that you got the bruise from
9 closed. 9 football?
10 Q. Gotit. Okay. Did you ever ask to leave 10 A. | don't think so.
11 when you were in the office or when you were in that 11 Q. Okay. And did you ever tell anyone that
12 back office with him? 12 you got the bruise because your brother fell off his
13 A. | think | asked if | could leave, and then 13 bed?
14 | asked if | could, like, text my parents to leave, 14 A. | don't think so.
15 but he said | wasn't allowed to text anyone. 15 Q. Okay. And the two officers, you said they
16 Q. Okay. During those two hours as you waited 16 were both in a uniform?
17 with Mr. Hart, did you speak to anybody else? Did you 17 A. Yeah.
18 speak to Mrs. Tobey, anyone else from the school or 18 Q. Did they look like the same uniform or did
19 any of the — Yeah. Did you speak to any of the 19 they have different colored shirts on or something
20 school staff while you were waiting with Mr. Hart? 20 like that?
21 A. No. I don't think any of them came in, 21 A. | don't know.
22 like, when we were waiting. 22 Q. Okay. So at some point, the DCF person
23 Q. Okay. And then at some point you said that 23 comes in; do you recall that person's name?
24 you spoke to -- Or at some point, maybe two hours 24 A. No. Sorry.
Page 78 Page 80
1 later, you said police arrived; is that right? 1 Q. Do you remember what he looked like at all?
2 A. Mm-hmm. 2 A. He was kind of, like, tall-ish. He was
3 Q. Do you remember what their names were or 3 white and, like, dark hair, | think.
4 what police officers arrived? 4 Q. And what was he wearing, do you remember?
5 A. No. I'm sorry. 5 A. I think just, like, a, like, button-up
6 Q. That's fine. And then you said someone 6 shirt and, like, nice pants, | think.
7 from DCF arrived as well? 7 Q. Was there one person from DCF there or more
8 A. Mm-hmm. 8 than one person?
9 Q. Is that a yes? 9 A. There was only one person.
10 A. Oh, yes. Sorry. 10 Q. Did you see anyone else there besides the
11 Q. That's okay. And how did you know someone 11 two officers, Mrs. Tobey and the DCF worker in
12 from DCF arrived? 12 Mrs. Tobey's office?
13 A. Because they had, like - When the DCF 13 A. No.
14 person came, they brought me into Ms. Tobey's office 14 Q. Did Mr. Hart go in the office with you?
1.5 with the DCF person. 15 A. No.
16 Q. Gotit. Okay. And when you got into 16 Q. And what did -- How long did you talk to
17 Mrs. Tobey's office, who else was in the office? 17 the DCF worker?
18 A. Ms. Tobey. | don't know if Ms. Wilson was 18 A. Like, 20, 30 minutes-ish.
19 there at this time, and then the two officers were in 19 Q. Okay. And what sorts of things did he ask
20 there, and then | think after, like, when the officers 20 you?
21. went out, they brought in the DCF person. 21 A. Just, like, the same questions as the
22 Q. Okay. Did those two officers ever ask you 22 police officers. Like, he asked more about, like, at
23 any questions? 23 home if it was safe and, like, all that kind of stuff.
24 A. Yeah. | think so. 24 Q. Okay. What did you tell him?

 

 

 

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1 A. That! was in a safe, like, good home and, 1 your siblings at the time?

2 like, no one in that house would ever do anything to 2 A. Yeah. | was worried about them and, like,

8 hurt me. 3 where they were and stuff.

4 Q. And that was the truth, right? 4 Q. Were you worried about your mom or your dad

5 A. Yes. 5 at that point?

6 Q. When you went to talk to -- When you were 6 A. Yeah. | was more worried that they were,

7 talking to the DCF worker, did you ask to leave at 7 like, worried for, like, all of us because maybe they

8 that point in time? 8 didn't know where we were and stuff.

9 A. I'm not sure. 9 Q. Okay. And as the big sister, do you take
10 Q. Okay. Did anyone tell you what the next 10 sort of a -- | don't know how to say this. As the big
11 steps were going to be, like, when you could go home? 11 sister, did you often look after your younger
12 A. Notreally. | went, like -- After | talked 12 siblings?

13 to, like, the officers and then the DCF worker, they 13 A. Yeah. | cared about them, like, a lot.

14 brought me back into the room and, like, put me back 14 Q. Allright. So at some point in time - How

15 with Mr. Hart. And then I think | asked, like, where 15 about Mr. Hart? | know that you didn't want to be

16 my brothers were and then if | was allowed to, like, 16 there. Do you feel that Mr. Hart treated you with

17 leave yet. And then they called, like, a girl police 17 respect or was nice to you?

18 officer and she dropped me at my grandma's house. 18 A. Hewas, like, nice to me, but it was,

19 Q. Do you remember that officer's name? 19 like -- | don't know. It was, like, not, like, fake

20 A. No. I'm sorry. 20 nice, but it was kind of, like, he wouldn't, like,

21 Q. That's fine. The two police officers that 21 tell me anything or, like, let me leave or, like, let

22 you spoke to -- | imagine you didn't want to be there; 22 me text my parents and stuff. And | don't think he

23 is that fair to say? 23 was, like, supposed to do that.

24 A. Yeah. 24 Q. Did you ever ask Mrs. Tobey or the DCF
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1 Q. Do you feel that those two police officers X worker or the other two officers if you could text

2 were kind to you? Respectful to you? Harsh with you? 2 your parents?

3 How would you describe your conversation with them? 3 A. | don't think so.

4 A. They were pretty kind. It was just, like, 4 Q. Okay.

5 they were nice to me and stuff and then -- but when | 5 A. | didn't really talk to Ms. Tobey.

6 would ask, like, questions, like, where's my parents, 6 Q. You didn't really talk to her again?

7 where's my brothers or, like, when am | allowed to go, 7 A. Not, like, the second time, | didn't talk

8 can | text people, it was, like, they would kind of, 8 to her as much. | more talked to, like, the DCF

9 like, not, like, outright be, like, no -- well, 9 worker and then the police and stuff.

10 Mr. Hart said, no, | couldn't text people, but, like, 10 Q. Do you recall if you spoke to the police

11 they wouldn't really answer me or, like, give me, 11 before or after you spoke to the DCF worker?

12 like, any info. £2 A. | don't remember which order it was.

13 Q. Is it fair to say that you were frustrated 13 Sorry.

14 that you didn't really know what was going on at the 14 Q. And you said that Mr. Hart was nice, but he
15 time? 15 was kind of fake nice?

16 A. Frustrated and, like, very upset. 16 A. Yeah. It seemed like all of them were

17 Q. Okay. Because you didn't know what was 17 being kind of, like, fake nice.

18 going on; is that fair? 18 Q. Okay. And what does that mean, "fake

19 A. Yeah. 19 nice"?

20 Q. And were you also frustrated and upset that 20 A. It was like they were being, like, nice to

21 no one was telling you after you kept asking? 21 me and stuff and respectful, but it was also like they
22 A. Yes. 22 were doing something they weren't supposed to do and
23 Q. Were you also a little frustrated and upset 23 wouldn't let me leave.

24 because you weren't really sure what was going on with 24 Q. Okay. When you say they were doing

 

 

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1 Q. Okay. d. A. | think we went home.
2 A. I'm sorry. 2 Q. Okay. Do you recall sitting in, like, a
3 Q. No. That's fine. Does that sound like 3 side anteroom at all for a little while waiting?
4 that's something that could have happened and you just 4 A. Yeah.
5 don't remember or you think that that could not have 5 Q. Tell me about that.
6 happened? 6 A. | was in there, and | think someone was
7 A. 1 don't know. Like, | blocked, like, a lot 7 talking to me asking me questions maybe.
8 of it out, so it was a lot. 8 Q. Do you recall who it was?
9 Q. Sure. At some point, did you go back to 9 A. No. And then my dad was there for a
10 your house? 10 little.
11 A. Yeah. That night. 11 Q. Okay. Did anyone make you aware as to what
12 Q. With your siblings and your mom? 12 was going on that day, like, what was going on in
13 A. Mm-hmm. 13 court?
14 Q. Yes? 14 A. | think they did. | just tried to, like,
15 A. Yes. 15 forget all of it so...
16 Q. Did you see your dad that night? 16 Q. Yeah. Okay. Sorry just to bounce back for
Ld A. 1 don't think | saw my dad that night. | 17 a second. Do you recall the DCF worker asking to take
18 think | saw him, like, a day or two after. 18 a photograph of your face?
L9 Q. Do you remember if you went -- Did you have 19 A. Yeah. | think so.
20 a hard time going to sleep that night? 20 Q. Anddo you recall telling him that he could
21 A. Yeah. | didn't sleep. 21 not take a picture of you?
22. Q. Okay. And is it because you were -- why 22 A. Yeah.
23 couldn't you sleep? 23 Q. And why did you refuse to let him take a
24 A. Because | was really upset about, like, all 24 picture of you?
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1 of the stuff that had happened that day and | was 1 A. Because | was upset, and | already was,
2 really worried about my dad and that he wasn't home 2 like, really frustrated and wanted them to just let me
3 and stuff. it made me upset. 3 go home and give me answers, so | was kind of getting,
4 Q. Do you recall ever talking io about 4 like -- not, like, rude but, like, kind of rude.
5 the water bottle hitting you in the face? 5 Q. Sure. Okay. At any point in time, do you
6 A. Maybe. 6 recall someone suggesting you go see the nurse?
7 Q. Are you aware that Qi says that he 7 A. No.
8 didn't have a water bottle that hit you in the face? 8 Q. And earlier that day when you saw
9 A. No. 9 Mrs. Wilson and Mrs. Tobey, did they suggest you go
10 Q. Do you think — Well, actually, let me 10 see the nurse?
11 backtrack. The next day, what did you do in the 11 A. No. The only mention of the nurse was that
1.2 morning? Did you go to school? 12 a student came and told her that and then that was it.
13 A. [think | went to school. | don't know. 13 | didn't see her.
14 One of the days | had to stay home or something. I'm 14 Q. Gotit. Okay. When you were back at your
15 not sure. 15 house, were you ever there -- Did DCF ever come to
16 Q. Did you ever go to court? 16 your house that you're aware of?
17 A. Yeah. 17 A. They came when | wasn't there, | think.
18 Q. Tell me what you remember about going to 18 Q. So you weren't there when DCF came to your
19 court. 19 house?
20 A. | remember sitting in the, like, kind of 20 A. No.
21 pews things, like, the benches or whatever, and then, 2A. Q. Did DCF ever do a second interview of you?
22 like, waiting for my dad to get out and stuff. 22 A. | don't know. | don't think so.
23 Q. And when your dad got out, where did you 23 Q. Okay. Do you remember having to give any
24 go? 24 other interviews after being at the school?

 

 

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a BY MS. DAVIS:., 1 So that's true, you spent your whole life

2 Q. Is it fair to say you've never seen any of 2 living in Walpole, correct?

3 these DCF forms before? 3 A. Yes.

4 A. (Witness reviewing document.) No. 4 Q. And it's true that you've never been in

5 Q. Okay. At some point someone from DCF had 5 foster care before, correct?

6 interviewed your brother. It looks like with iii. 6 A. No. Never.

7 And (8B told the DCF officer -- the DCF worker -- 7 Q. It's correct that you've never been in

8 Well, the DCF worker asked @iMPif he had heard 8 foster care?

9 anyone argue or yell, and he said that you and @ii,, 9 A. Yes. Sorry. I've never been.
10 were swearing and yelling at one another this morning. 10 Q. And here it says, "The department does not
11 Does that sound familiar at all? 11 have any record of this.”
12 A. | mean, | don't know exactly what it was 12 So, "Lee Tobey said that Wiibhas been in
13 about or if it happened that morning, but Sip and |, 13 their system since kindergarten." Is that correct?
14 like, we fight sometimes because we are very 14 A. Yes.
15 different. 15 Q. "Lasked if has an IEP or any
16 Q. Okay. So it's possible that you and @ih 16 conduct history, she said no IEP and history of
Lal may have been arguing and yelling that morning; is 17 conduct issues." And it looks like the sentence is
18 that fair to say? 18 written poorly. It's correct that you've never had an
19 A. Maybe, like, over clothes or something. | 19 IEP, correct?
20 don't know. | can't really say. 20 A. Yeah. No IEP.
21 Q. Okay. And, sorry, for the record, | read 21, Q. Okay. And then | can't tell if it says she
22 from Page 2. It looks like it's the second chunk of 22 said no history of conduct issues or that you did have
23 text down. 23 a history of conduct issues. Have you ever had any
24 I'm going to scroll down again. Still on 24 disciplinary issues at school?

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1 Page 2, some of the highlighted portions. 1 A. No.

2 All right. Here it says —- and I'm 2 Q. Okay. It says, "SRB has a significant

3 starting with, "Ms. Tobey advised that after receiving 3 nurse's record where she has seen the nurse for

4 the statement from Qs friend that her father had 4 anxiety." Is that true?

5 hit her, S@RMEBas since told her that her brother 5 A. Yeah.

6 had fallen off a bunk bed this morning and that was 6 Q. Is that sort of the stuff that we've talked

7 the cause of the injury." 7 about being school related?

8 Do you recall telling Mrs. Tobey or anyone 8 A. Yeah.

9 else from the school that your injury was caused by 9 Q. “lasked Lee to show me a picture of GA
10 your brother falling off the bunk bed? 10 prior to meeting with her so that | have a baseline
11 A. No. 14 for the alleged marks. Lee used the picture assigned
12 Q. Do you know if it's true or not? 12 to Gans, in the school database."
13 A. No. It was the water bottle. 13 You have, like, a school picture with the
14 Q. Okay. So you would say that that 14 school; is that right?
15 statement's not true? 15 A. Mm-hmm. Yes. Sorry.
16 A. Not true. 16 Q.  Itthen says, "I asked to speak with Shawia
17 Q. Solasked -- It says here the staff person 17 who was across the hall with one of her football
18 is David Skutul. Do you recall that name at all? 18 coaches as well as Walpole police officer." Is that
19 A. No. 19 Mr. Hart?
20 Q. Sol guess, "I" -- meaning David -- "asked 20 A. Yes.
21 if the family has been living in Walpole for a period 21 Q. I'm just going to scroll down just to make
22 of time as there was a report that Qi had 22 it a little bit easier. “SERBcame to Lee's office
23 mentioned that they had been in foster care before, 23 where Lee" - so Mrs. Tobey -- “and Detective Mike
24 but the department does not have any record of this." 24 stayed." Does that name, "Detective Mike," sound

 

 

 

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1 she was alone in the basement." Does that sound 1 that she had been seen a couple of weeks ago with a
2 correct? 2 bruise on her face. She said that she got hit in the
8 A. Mm-hmm. Yes. 3 face with a puck as she plays street hockey with her
4 Q. "Mom got home around 6:30 p.m. | asked if 4 cousins." Does that sound familiar at all?
5 there were any arguments last night. She said no. | 5 A. | don't think | had any bruises before
6 asked about any disagreements. She said, no, nothing 6 that.
7 eventful happened." Is that right? 7 Q. Do you play street hockey with your
8 A. Yes. 8 cousins?
9 Q. "lL asked what time she woke up this 9 A. Sometimes if we're hanging out. Like,
10 morning. She said 5:00 a.m." Is that correct? 10 sometimes I'll play, like, street hockey or skateboard
Li. A. | don't think so. il or something like that.
12 Q. Are there any times where you wake up that 12 Q. Okay. Do you skateboard also?
13 early? 13 A. Not, like, anymore. I'm not very good at
14 A. Notreally. No. Unless | have something, 14 it.
15 like, at five, like, that | have to wake up early for. 15 Q. Okay. Do you recall ever getting hit in
16 Q. Okay. "I asked if there were any arguments 16 the face with a hockey puck around then?
17 or issues this morning. She said no. | asked when 17 A. | don't know. Like, | could have, but I
18 did her brother fall on her as well as the water 18 don't know.
19 bottle. She said last night." Is that correct? 19 Q. Okay. "I asked if she had any other marks
20 A. The water bottle fell on me. 20 or bruises. She said no. She was wearing a long
21 Q. Okay. So the part about your brother is 21 sleeve shirt covering her arms. She was wearing
22 not correct? 22 shorts. No obvious marks or bruises that signified
23 A. No. 23 abuse. | asked if | could take a picture of the marks
24 Q. Okay. It then says, "Il asked when the last 24 on her face. She said no." Does that sound accurate?
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1 time she was punished for something. She said within il A. Yeah.
2 the past two weeks due to grades. | asked what and 2 Q. Later in the report it says, "Police had
3 why are they generally punished. She said mainly 3 arranged for a female officer to pick Sie up from
4 school stuff." And | think "they" meant you and your 4 school and bring her to MGM's home," so maternal
5 siblings. Is it correct that you got into a little 5 grandmother's home. Is that right?
6 bit of trouble because of grades before your father's 6 A. Yes.
7 arrest? 7 Q. And this is the -- again, David Skutul's
8 A. I get my, like, phone taken away or, like, 8 report here on Page 4 going onto Page 5 about visiting
9 I'd have to go to bed early or something like that. 9 your home. It says, "I was then allowed to see the
10 Q. Okay. So that had happened within two 10 bedrooms. In QB and Gola room, there was a
11 weeks before your father was arrested; does that sound 11 bunk bed against the wall with a twin bed at the
12 about right? 12 bottom of the footboard." Does that sound right?
13 A. |mean, | don't think so. | think | was 13 A. Yeah.
14 doing pretty well in school at this time, so | don't 14 Q. "lalso observed the top bunk to only have
15 think so. 15 sheets on the bed, while the bottom bunk had a pillow
16 Q. Just scrolling down again to that other 16 and blankets." Does that sound about right?
17 highlighted part: "I addressed the statement in the 17 A. Yeah.
18 51A that she was quoted as saying that she was in 18 Q. "Mother also pointed out a large, white,
19 foster care before. She said that she never remembers 19 metal water bottle that was on Shawna's bed." Do you
20 saying that and that she has never been in foster care 20 know about -- Do you or jj have a large white metal
21 but her cousins have." Is that correct? 21 water bottle?
22 A. [don't know. They were, like, taken from 22 A. I'mnot sure. Probably. We have a lot of
23 my aunt, but | don't know if they were in foster care. 23 __water bottles.
24 Q. Okay. "I, again, addressed the concern 24 Q. "Mother put the water bottle on the dresser

 

 

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1 by the door. | held the water bottle as it was 1 your face, correct?
2 semi-full and heavy." When you went home, did you see 2 A. Correct.
3 that water bottle, do you remember? 3 MS. DAVIS: All right. The next
4 A. I don't recall. 4 exhibit I'm going to show you is Exhibit 3. This is
5 Q. The next part they contacted the 5 Detective Benner's report and there's just a portion
6 pediatrician and spoke with someone named Erica. It 6 in here that I just wanted to go over with you.
a. says they confirmed that you were seen the day before, 7 (Exhibit No. 3 was marked for
8 so on October -- They called on October 26th, so you 8 identification.)
9 went in on October 25th. 9 BY MS. DAVIS:
10 It says, "The doctor only documented a 10 Q. You've never seen any of the police reports
11 bruise on the right cheekbone, nothing noted about the 11 in this case; is that correct?
12 left. Both doctor and mother questioned the child's 12 A. (Witness reviewing document.) Yeah.
13 discontinued use of Accutane to be possible cause of 13 That's correct.
14 easy bruising. In the notes, doctor reported to have 14 Q. Okay. So Detective Benner said he was in
15 taken pictures of ee." Do you remember that 15 the room along with Vice Principal Lee Tobey, and the
16 happening? Did that happen in front of you at the 16 victim stated that she currently shares a room with
Li pediatrician's office? 17 her younger brother (ji, age seven. Does that sound
18 A. I'm not really sure. 18 about right?
19 Q. Okay. 19 A. Yes.
20 A. | don't remember. 20 Q. "She stated that last night while sleeping,
21 Q. Do you recall a doctor taking any 21 Wile fell off the bunk and landed on her." Do you
22 photographs of you? 22 recall saying that or is that correct?
23 A. [recall going to the doctor's, but | don't 23 A. | don't think so.
24 remember anyone taking pictures of me. 24 Q. Okay. "She stated that he also caused a
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1 Q. Okay. Got it. Okay. It says that the DCF 1 water bottle to fall on her while she was sleeping
2 followed up again with your guidance counselor. And 2 which caused the marks on both sides of her face." Is
3 it says, « has not met with her since the 3 that correct?
4 incident and had rarely made contact with her prior." 4 A. Yeah, | think the water bottle part.
5 Is that correct? 5 Q. "She stated that there had been no other
6 A. Yeah. 6 altercations and that her brother falling is what
7 Q. "Ms. Wilson was aware of Sainihe as kids 7 caused her bruising. | could see bruising on both of
8 came to her last year worried that she has been 8 the victim's cheekbones.”
9 cutting herself." Is that correct? 9 Let me break that up. "She stated that
10 A. Yes. 10 there had been no other altercations." That's
11 Q. And those were those SOS messages that you Ld correct, right?
12 were referring to? 12 A. Yeah.
13 A. Yeah. 13 Q. “And that her brother falling is what
14 Q. "Ms. Wilson did reach out to father and he 14 caused her bruising.” Do you agree with that
15 said that he would have her seen by the pediatrician." 15 statement?
16 Do you recall that, seeing the pediatrician? 16 A. _ [| think it was the water bottle. | don't
17 A. | don't remember. 17 know.
18 Q. Okay. And it says here, too, "Ms. Wilson 18 Q. Okay. "I could see bruising on both of the
19 reported that Sime is not doing well academically.” 19 victim's cheekbones." Did anyone say anything to you
20 Do you remember that at all or is that something that 20 about seeing bruising on both sides of your face?
21 you disagree with at the time? 21 A. | don't think so.
22 A. I don't think | was doing not well. 22 Q. Okay. Detective Benner described the
23 Q. Okay. And we talked about this, so you did 23 bruises as fresh and recent. Would you agree that the
24 not allow the person from DCF to take a photograph of 24 bruise on -- the one bruise that you say you had

 

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1 looked fresh and recent? 1 Q. Have you ever received a bruise on your
2 A. Yeah. | think so. I think it happened, 2 face from football?
3 like, the night before so... 3 A. No. | was a kicker so...
4 Q. Okay. "When asked if her father had ever 4 Q. "While waiting for Sullivan to speak with
5 struck her physically, she stated that he spanked her 5 detectives and DCF, | tried to keep her calm by
6 once when she was six years old after she was being 6 talking about football and school." Did Mr. Hart try
7 unsafe crossing the street." Is that correct? 7 to talk to you about football and school while you
8 A. Yeah. 8 were waiting?
9 Q. "The bruising was only on both of her 9 A. Yeah.
10 cheeks, not on her nose, which seemed odd if someone 10 Q. "Sullivan stated to me that she was having
11 or something, a water bottle, fell on you." 11 difficulty with her math class and that her parents
12 Did Detective Benner or the other police 12 were not happy with her current grade in that class."
13 officer who was there tell you that they thought it 13 Do you remember that at all?
14 was strange that you had bruising from the water 14 A. Yeah. That was the class | had, like, a C
a5 bottle? 15 or something in, and | wasn't, like, doing good.
16 A. | don't really remember. | don't think so. 16 Q. Do you recall talking to Mr. Hart about
17 MS. DAVIS: Okay. I'm just going 17 that that day?
18 to scan this a little bit, because | want to move 18 A. Not really. | remember doing my geometry
19 along. | don't want to ask you a bunch of 19 homework, like, in the room with him, but | don't
20 questions -- the same questions. 20 remember talking to him a lot.
21 All right. I'm going to mark as Exhibit 4, 21 Q. Okay. "I asked her if her parents put a
22 this is Officer Hart's report, Mr. Hart's report, that 22 lot of pressure on her to do well in school, and she
23 he wrote on -- It says it was entered on November 8th, 23 rolled her eyes and nodded yes." Is that a correct
24 2018. 24 statement?
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1 (Exhibit No. 4 was marked for 1 A. Yeah. It's not really, like, pressure.
2 identification.) 2 It's more, like, they want me to succeed kind of.
3 BY MS. DAVIS: 3 Q. Sure. They have high expectations of you
4 Q. I'm just going to go to the middle two 4 then?
5 photographs. Okay. It says here, "Also, a few weeks 5 A. Yeah. Because | want to do well.
6 before the incident, Sullivan" -- so meaning you -- 6 Q. Sure. "She stated that they are really
7 "came to practice with a bruise on her right cheek, 7 hard on her because she was the oldest and wanted her
8 which was very similar to the bruise she had on her 8 to do well." Is that right?
9 face during this incident as well. On that day a 9 A. Yeah.
10 couple weeks prior, | pulled Sullivan aside during 10 Q. "As Sullivan and | continued to talk, she
11 practice and inquired about her bruise, to which she 11 kept changing the subject back and to the current
12 immediately replied that she got hit in the face while 12 situation and kept inquiring about whether or not her
13 playing hockey with her siblings." Do you recall ever 13 parents would find out about this situation." Do you
14 having that conversation with Mr. Hart? 14 agree with that statement?
15 A. No. 15 A. Well, | was asking if they were going to
16 Q. Okay. Do your siblings play hockey at all? 16 call my parents or if | could or when I was going to
17 A. My little brothers are both on hockey 17 get to see my parents.
18 teams. 18 Q. Okay. "She was also very worried about the
19 Q. Okay. "I later learned that she told some 19 well-being of her younger siblings as well." That's
20 of her teachers that asked about that same bruise that 20 correct, right, you said that before?
21 it happened at football." Do you recall telling any 21 A. Yeah.
22 of your teachers before your father was arrested that 22 Q. "Every time Sullivan inquired about the
23 you had a separate bruise from football on your face? 23 current situation and if her parents would be called,
24 A. | don't think so. No. 24 | continued to try to redirect her and assure her that

 

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